Case 3:11-cv-00065-JRS Document 11 Filed 06/14/11 Page 1 of 2 PagelD# 115

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,
Plaintiff,
Vv. Case No, 3:11-cv-00065-JRS
HAROLD FORD,
Defendant,

MOTION TO WITHDRAW MOTION TO COMPEL

Defendant, Harold Ford (“Ford”), by counsel, hereby moves to withdraw the Motion to
Compel plaintiff to file Initial Disclosures, to provide complete and executed Answers to
Interrogatories and Responses to Request for Production of Documents which were served upon
her on or about March 30, 2011, and to sit for a deposition. The undersigned counsel has
conferred with counsel for Plaintiff regarding Plaintiffs failure to file Initial Disclosures, and
plaintiff has provided complete and executed Answers to Interrogatories and Responses and sat
for a deposition. Based upon those discussions and the terms of the enclosed Proposed Order,
Ford agrees to withdraw his Motion to Compel and requests that the Court enter the attached

Proposed Order.

HAROLD FORD

By Counsel
Case 3:11-cv-00065-JRS Document 11 Filed 06/14/11 Page 2 of 2 PagelD# 116

/s/

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CERTIFICATE

[hereby certify that onthe / ay of June, 2011, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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is/

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